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     Patrick K. Hanly (SBN 128521)
 1   980 9th Street, 16th Floor
     Sacramento, California 95814
 2   Telephone: (916) 773-2211
     Facsimile: (916) 449-9543
 3
     Attorney for Defendant
 4   Jaime Mayorga
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 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                             )   Case No: CR. 11-296 JAM
                                                           )
11                  Plaintiff,                             )   STIPULATION AND PROPOSED ORDER
                                                           )   SUBSTITUTING PROPERTY FOR
12          vs.                                            )   PURPOSES OF SECURED PROPERTY
                                                           )   BOND
13   JAIME MAYORGA,                                        )
                                                           )
14                  Defendants.                            )
                                                           )
15                                                         )
                                                           )
16                                                         )
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18
            Defendant Jaime Mayorga, through his counsel of record, Patrick K. Hanly, appearing specially,
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     and plaintiff United States of America, through its counsel, Assistant United States Attorney Dominique
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     Thomas, agree and stipulate that Mr. Mayorga may substitute the property of Guadalupe Hernandez
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     located at 1517 Ashley Avenue, Woodland California in the place his residence for purposes of
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     satisfying the property bond requirement issued by the Honorable Dale A. Drozd on July 19, 2011. The
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     Pretrial Services Officer was notified of this requested change and has agreed to the substitution of
24
     property.
25

26   Dated: July 21, 2011                               /s/ Patrick K. Hanly__________________
                                                           Attorney for Defendant
27                                                         Jaime Mayorga

28
     ////


                                   Stipulation and Order Substituting Property For Bond
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 1   Dated: July 21, 2011                                 UNITED STATES ATTORNEY
 2                                                  By: /s/ Dominique Thomas
                                                            Assistant United States Attorney
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 4
                                                      ORDER
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 6
             Based on the stipulation of the parties and good cause appearing therefrom, the Court hereby
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     adopts the stipulation of the parties in its entirety as its Order.
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 9
             IT IS SO ORDERED.
10           Dated: July 25, 2011                           /s/ Gregory G. Hollows
                                                      _____________________________________
11
                                                           United States Magistrate Judge
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                                     Stipulation and Order Substituting Property For Bond                   2
